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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION


   ALEKSEJ GUBAREV,
   XBT HOLDING S.A., and
   WEBZILLA, INC.                                                             Case No.
     Plaintiffs,
                                                                        0:17-cv-60426-UU
   v.

   BUZZFEED, INC. and
   BEN SMITH
     Defendants.



                  REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE

           The United States District Court for the Southern District of Florida  (the  “District  

    Court”  or  the  “Court”)  presents its compliments to the Senior Master of the Court of

    Judicature,  Queen’s  Bench  Division and requests assistance in obtaining evidence to be used in

    a civil proceeding now pending before this Court.

           The  District  Court  requests  that  the  Senior  Master  approve  the  Plaintiffs’  nomination  of  

    a practicing Barrister or such other qualified person as the Court deems fit, to act as Examiner

    for the purpose of obtaining evidence for trial from one witness.

           This request is made pursuant to, and in conformity with The Hague Convention of 18

    March 1970 on the Taking of Evidence Abroad in Civil or Commercial Matters, to which both

    the United States and the United Kingdom are a party.

           The Court considers that the evidence sought is directly relevant to the issues in dispute

    and is not discovery within the meaning of Article 23 of The Hague Evidence Convention, that

    is, discovery intended to lead to relevant evidence for trial. It is expected, based on existing

    timetables, that the United States District Court for the Southern District of Florida

    will commence trial on March 19, 2018.



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          The particulars of this Hague Evidence Request are as follows:

     1.     Sender:                          Honorable Ursula Ungaro
                                             Judge, United States District Court for the
                                             Southern District of Florida


     2.    Central Authority       of   the COMPETENT             AUTHORITY                FOR
           Requested State:                 ENGLAND AND WALES
                                            Senior Master
                                            Queen’s  Bench  Division
                                            ROYAL COURTS OF JUSTICE
                                            Strand
                                            London WC2A 2LL
                                            UNITED KINGDOM

                                             On behalf of:

                                             THE CENTRAL AUTHORITY FOR THE
                                             UNITED KINGDOM

                                             Her Majesty's Principal Secretary of State for
                                             Foreign Affairs

                                             FOREIGN         AND       COMMONWEALTH
                                             OFFICE

                                             King Charles Street

                                             London SW1A 2AH, England,

                                             UNITED KINGDOM



     3.    Person to whom the executed Plaintiff’s  Legal  Representative  in  the  UK:
           request is to be returned:
                                       Steven Loble, Esq.
                                       W Legal Limited
                                       47 Red Lion Street
                                       London
                                       WC1R 4PF
                                       Ref. SFL/

                                             on behalf of:

                                             Honorable Ursula Ungaro
                                             Judge, United States District Court for the
                                             Southern District of Florida




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     4.    In conformity with Article 3 of the Convention, the undersigned applicant
           has the honor to submit the following requests:

     5a.    Requesting                     Honorable Ursula Ungaro
            Judicial Authority:            United States District Court for the
                                           Southern District of Florida

     5b.   To the competent authority of: THE UNITED KINGDOM OF GREAT
                                          BRITAIN AND NORTHERN IRELAND

     6.    Names and addresses of the
           parties       and    their
           representatives:

            a.      Plaintiffs:            Plaintiffs

                                           Represented in the US by:

                                           Evan Fray-Witzer, Esq.
                                           CIAMPA FRAY-WITZER, LLP
                                           20 Park Plaza, Suite 505
                                           Boston, Massachusetts 02116
                                           Telephone: 617-426-0000
                                           Facsimile: 617-423-4855
                                           Evan@CFWLegal.com

                                           Valentin D. Gurvits, Esq.
                                           Matthew Shayefar, Esq.
                                           BOSTON LAW GROUP, PC
                                           825 Beacon Street, Suite 20
                                           Newton Centre, Massachusetts 02459
                                           Telephone: 617-928-1806
                                           Facsimile: 617-928-1802
                                           matt@bostonlawgroup.com
                                           vgurvits@bostonlawgroup.com

                                           Brady J. Cobb, Esq.
                                           COBB EDDY, PLLC
                                           642 Northeast Third Avenue
                                           Fort Lauderdale, Florida 33304
                                           Telephone: 954-527-4111
                                           Facsimile: 954-900-5507
                                           bcobb@cobbeddy.com




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                                                   Represented in England by:

                                                   Steven Loble, Esq.
                                                   W Legal Limited
                                                   47 Red Lion Street
                                                   London
                                                   WC1R 4PF
                                                   Ref. SFL/


              b.     Defendants:
                                                   Defendants

                                                   Represented in the US by:

                                                   Katherine Bolger, Esq.
                                                   Nathan Siegel, Esq.
                                                   Adam Lazier, Esq.
                                                   Davis Wright Tremaine, LLP
                                                   1251 Avenue of the Americas
                                                   21st Floor
                                                   New York, New York 10020-1104
                                                   212.489.8230
                                                   212.489.8340 fax

                                                   Lawrence Kellogg, Esq.
                                                   Levine Kellogg Lehman Schneider                  &
                                                   Grossman LLP
                                                   201 South Biscayne Boulevard
                                                   22nd Floor
                                                   Miami, FL 33131

     7.       Nature and purpose of the proceedings and summary of the facts:

            This civil action concerns allegations of defamation and defamation per se arising out of

    the publication by Buzzfeed of an  online  article  entitled,  “These  Reports  Allege  Trump  Has  

    Deep Ties To Russia.”    The online Article attached a 35-page  “dossier”  of  information  compiled  

    by a private security company, Orbis Business Intelligence Ltd., located at 9-11 Grosvenor

    Gardens, London SW1W 0BD. More specifically, the dossier is believed to have been compiled

    by and at the direction of Christopher Steele, a director of Orbis.




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              The dossier included various allegations concerning, among other things, allegations of

    computer hacking of the Democratic Party allegedly carried out by persons or organizations with

    ties to Russia, the Russian Government, and/or the Federal Security Service of the Russian

    Federation  (“FSB”).    The dossier included the following:

                     [redacted] reported that over the period March-September 2016 a company
                     called XBT/Webzilla and its affiliates had been using botnets and porn traffic to
                     transmit viruses, plant bugs, steal data and conduct  “altering  operations”  against  
                     the Democratic Party leadership. Entities linked to one Alexei GUBAROV [sic]
                     were involved and he and another hacking expert, both recruited under duress by
                     the FSB, Seva KAPSUGOVICH, were significant players in this operation. In
                     Prague, COHEN agreed contingency plans for various scenarios to protect the
                     operations, but in particular what was to be done in the event that Hillary
                     CLINTON won the presidency. It was important in this event that all cash
                     payments owed were made quickly and discreetly and that cyber and other
                     operators were stood down / able to go effectively to ground to cover their traces.


            The Plaintiffs have alleged that these statements are without basis in fact, which forms

    the basis of their defamation action in the Court.

    PARTIES

    Plaintiffs:

    ALEKSEJ GUBAREV,
    XBT HOLDING S.A., and
    WEBZILLA, INC.

    Defendants:

    BUZZFEED, INC. and
    BEN SMITH


    PLAINTIFFS’  ALLEGATIONS  

    Plainiffs’  allegations  are  as  follows:

              On January 10, 2017, Buzzfeed and Mr. Smith published an online article entitled,

    “These  Reports  Allege  Trump  Has  Deep  Ties  To  Russia”  (the  “Defamatory  Article.”)    At  the  

    time the Complaint was filed, the Defamatory Article had been viewed more than 5.9 million


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    times. The Defamatory Article attached a 35-page  unverified  “dossier”  of  information  compiled  

    by a private security company.

                  The dossier included various allegations concerning, among other things, allegations of

    computer hacking of the Democratic Party allegedly carried out by persons or organizations with

    ties to Russia, the Russian Government, and/or the Federal Security Service of the Russian

    Federation  (“FSB”).1 With respect to the Plaintiffs, the dossier included the following assertions

    of fact:

                          [redacted] reported that over the period March-September 2016 a company
                          called XBT/Webzilla and its affiliates had been using botnets and porn traffic to
                          transmit viruses,  plant  bugs,  steal  data  and  conduct  “altering  operations”  against  
                          the Democratic Party leadership. Entities linked to one Alexei GUBAROV [sic]
                          were involved and he and another hacking expert, both recruited under duress by
                          the FSB, Seva KAPSUGOVICH, were significant players in this operation. In
                          Prague, COHEN agreed contingency plans for various scenarios to protect the
                          operations, but in particular what was to be done in the event that Hillary
                          CLINTON won the presidency. It was important in this event that all cash
                          payments owed were made quickly and discreetly and that cyber and other
                          operators were stood down / able to go effectively to ground to cover their traces.

                Not a single portion of this statement (as it applies to Mr. Gubarev, XBT, or Webzilla)

    has any basis in fact whatsoever. Specifically:

                a.        Neither  XBT  nor  Webzilla  nor  any  of  their  affiliates  had  been  “using botnets and
                          porn   traffic   to   transmit   viruses,   plant   bugs,   steal   data   and   conduct   ‘altering  
                          operations’”  against the Democratic Party leadership or anyone else;

                b.        No “entities  linked”  to Mr. Gubarev were involved in any alleged cyber-attacks;

                c.        Mr.  Gubarev  was  not  “recruited  under  duress  by  the  FSB”  (to be clear, he was not
                          recruited at all – whether under duress or otherwise), nor was he recruited for such
                          activities by anyone else at any other time or in any other circumstances
                          whatsoever. Additionally, he has no knowledge of, has never met and has never
                          spoken to a person known as Seva Kapsugovich;

                d.        Mr. Gubarev and  his  companies  have  never  acted  with  “another  hacking  expert”  
                          to mount a cyber-attack on the Democratic Party Leadership or on any other person;
                          and

                e.        Not   having   been   involved   in   the   activities   attributed   to   them   in   the   “dossier,”  
                          neither Mr. Gubarev nor  any  of  his   companies  would   have  had  any  need   to   “go


    1
        The  FSB  is  the  main  successor  agency  to  the  USSR's  Committee  of  State  Security  (“KGB”).


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                    effectively  to  ground  to  cover  their  traces” in the event that Ms. Clinton won the
                    presidency.

             Although Buzzfeed and Mr. Smith claim that they had the dossier in their possession for

    weeks prior to its publication, and despite their claims that they had four reporters working near

    full-time on attempting to verify the claims made in the dossier, prior to publishing the

    Defamatory Article and the dossier, neither Buzzfeed nor Mr. Smith contacted the Plaintiffs to

    determine if the allegations made against them had any basis in fact.

             At the time the Defendants published the Defamatory Article and accompanying

    dossier, they knew, without a doubt, that at least certain portions of the dossier were untrue.

    Indeed, the Defamatory Article stated specifically that:

            The dossier, which is a collection of memos written over a period of months, includes
            specific,  unverified,  and  potentially  unverifiable  allegations…  BuzzFeed  News  reporters  
            in the US and Europe have been investigating various alleged facts in the dossier but
            have  not  verified  or  falsified  them.  …[The  dossier]  is  not  just  unconfirmed:  It  includes  
            some clear errors.

            Plaintiffs seek recovery from Defendants for damage to their personal, professional, and

    corporate reputations, as well as for emotional distress, lost profits, loss of corporate

    opportunities,  punitive  damages,  other  consequential  damages  and  costs  and  attorney’s  fees.    

    Plaintiffs expect their damages to total in the tens of millions of dollars.

    STAGE OF THE PROCEEDINGS

            This action was commenced by the filing of a Complaint by the Plaintiffs on February 28,

    2017. The Parties exchanged written discovery, with discovery responses being filed by both sides

    in July of 2017. Depositions have not yet taken place; discovery is scheduled to be concluded by

    November 22, 2017. Trial in this case is set to start on March 19, 2018.

            Because Mr. Steele is a defendant in related-case pending in London, he is in an adversarial

    posture to the Plaintiffs and, as such, requests for voluntary compliance with the taking of his

    deposition would be futile.




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           As Mr Steele is not within the subpoena power of the United States District Court for the

    Southern District of Florida the only opportunity to obtain his evidence for trial is to examine him

    in England pursuant to this letter of request.

    THE WITNESS

               Christopher Steele, c/o Orbis Business Intelligence Ltd., located at 9-11 Grosvenor

    Gardens, London SW1W 0BD

    LIST OF SUBJECTS FOR ORAL EXAMINATION

           The United States District Court for the Southern District of Florida requests that

    Christopher Steele be ordered to attend for examination to give evidence about the following

    matters:

    1.         Mr   Steele’s   educational background, employment history, professional qualifications,
               personal preparation for the deposition (to include any contacts the witness may have had
               with the parties, their lawyers, insurers or representatives, but excluding any privileged
               content of such communications).

    2.         The instructions given to Mr Steele and his company to prepare the dossier and the
               reasons for the preparation of the dossier.

    3.         The payments made to Mr Steele and his company for the dossier.

    4.         The steps Mr Steele took to obtain information for the dossier.

    5.         Mr.  Steele’s  preparation  of  the  dossier.

    6.         Mr.  Steele’s  solicitation  of  information  for  the  dossier.

    7.         Mr.  Steele’s  sources  of  information for the dossier.

    8.         Mr. Steele’s efforts (or lack of efforts) to verify allegations in the dossier.

    9.         Mr.  Steele’s  work  to  verify  allegations  in  the  dossier.

    10.        Mr.  Steele’s  clients with respect to the dossier.

    11.        The provision of the dossier to Fusion GPS.

    12.        The provision of the dossier to media outlets.

    13.        The provision of the dossier to other third parties.



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    14.     Mr.   Steele’s   communications   with   others   concerning   the   dossier   and   the   allegations  
            contained therein.

            For the reasons set forth above, the United States District Court for the District of

    believes that the witnesses (whose contact details are given below) will be able to provide

    evidence directly relevant to the main issues between the parties and without which the ends of

    justice could not be properly met. The United States District Court for the District of

    believes that this information is not available from any other source.

     8.       Evidence to be obtained:                      Plaintiffs   seeks          testimony       from
                                                            Christopher Steele.


     9.       Identity and addresses of persons Christopher Steele
              to be examined:                   Orbis Business Intelligence Ltd., located at
                                                9-11 Grosvenor Gardens, London SW1W
                                                0BD


     10.      Subject matter about which the Please see list of subjects itemized above.
              witnesses will be examined:


     11.      Any requirement that the evidence Testimony is to be provided under the
              be given on oath or affirmation and pains and penalties of perjury. The
              any specific form to be used:       witness may swear or affirm to the
                                                  truthfulness of the testimony given.
     12.      Special methods or procedures to
              be followed:


              The United States District Court for the Southern District of Florida respectfully requests

    assistance in appointing an English Examiner for the purpose of compelling oral testimony for use

    at trial from English witnesses. The United States District Court for the Southern District of Florida

    further  requests  that  Plaintiffs’  counsel,  Steven  Loble,  a  solicitor  with  the  London  firm  of  W Legal

    Limited, arrange for the nomination of an Examiner in this matter. This Request is made pursuant

    to, and in conformity with, Article 18 of The Hague Evidence Convention of March 18, 1970; the

    Evidence (Proceedings in Other Jurisdictions) Act 1975, the Rules of the United States District Court

    for the District of Court Order 70; and Rule 34, paragraphs 6 and 8 of the Civil Procedure Rules.


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            The United States District Court for the Southern District of Florida further requests that

    the  parties’  representatives  or  their  designees,  a  court  reporter, and a videographer be permitted to

    be present during the examination; that the representatives or designees be permitted to examine

    and cross-examine the witnesses directly; and that a court reporter and a videographer be permitted

    to make a verbatim record of the proceedings.

     13.    Request for notification of the           It is requested that testimony be taken at such
            times and place for the execution         place, date or time as ordered by the Senior
            of the Request and identity of the        Master and/or as otherwise scheduled by the
            person to be notified:                    representatives of the Plaintiffs and/or as
                                                      otherwise agreed to by the witnesses and the
                                                      respective representatives of the Parties.


                                                      Notice thereof should be made to Plaintiffs’  UK  
                                                      designee:

                                                      Steven Loble, Esq.
                                                      W Legal Limited
                                                      47 Red Lion Street
                                                      London
                                                      WC1R 4PF
                                                      Ref. SFL/

     14.    Request for attendance or None.
            participation     of     judicial
            personnel of the requesting
            authority at the execution of the
            Letter of Request:

     15.    Specification of privilege or duty Under the laws of the United States, a party
            to refuse to give evidence under has a privilege to refuse to give evidence if
            the laws of the State of origin:   the evidence discloses a confidential
                                               communication between that party and an
                                               attorney for that party that was made for the
                                               purpose of obtaining legal advice.

                                                      Parties also enjoy limited privileges on other
                                                      grounds not relevant here such as
                                                      communications between physician and
                                                      patient, psychotherapist and patient, husband
                                                      and wife, or clergy and penitent.

                                                      US law also recognizes a privilege against
                                                      criminal self-incrimination.



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                                                  Outside the strict area of privilege, certain
                                                  limited immunities are available that may
                                                  place restrictions on the giving of evidence,
                                                  such as the limited protection of documents
                                                  created as the work product of attorneys during
                                                  or in anticipation of litigation.


     16.    The fees and costs incurred Plaintiffs
            which are reimbursable under
            the second paragraph of Article
            14 or under Article 26 of the
            Convention will be borne by:

     17.    Date of Request:                      _________________, 2017


                                                _____________________________________
     18.    Signature and seal         of   the Honorable Judge, Ursula Ungaro
            Requesting Authority:               UNITED STATES DISTRICT COURT FOR
                                                THE SOTHERN DISTRICT OF FLORIDA


           This Court expresses its appreciation to you for your courtesy and assistance in this matter

    and states that, pursuant to the authority of 28 U.S.C. § 1782, it stands ready and willing to do the

    same for you in a similar matter when required.




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